                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.310 Page 1 of 32




                                                    UNITED STATES DISTRICT COURT
                                                    WESTERN DISTRICT OF MICHIGAN
                                                         SOUTHERN DIVISION


                             EDWARD W. REYNOLDS, et al.,              PLAINTIFFS’ RESPONSE TO
                                                                      DEFENDANTS’ MOTION TO DISMISS,
                                                Plaintiffs,           AND PROOF OF SERVICE

                             -vs-                                     Case No.: 1:18-cv-00069-PLM-PLG

                             GREG TALBERG, et al.,                    HON. PAUL L. MALONEY

                                                Defendants.
                                                                  /

                             David A. Kallman         (P34200)
                             Stephen P. Kallman       (P75622)
Great Lakes Justice Center




                             Erin E. Mersino          (P70886)
                             GREAT LAKES JUSTICE CENTER
                             Attorneys for Plaintiffs
                             5600 W. Mount Hope Hwy.
                             Lansing, MI 48917
                             (517) 322-3207


                             Timothy J. Mullins        (P28021)
                             Kenneth B. Chapie         (P66148)
                             GIARMARCO, MULLINS &
                             HORTON, P.C.
                             Attorneys for Defendants
                             101 W. Big Beaver Road, 10th Floor
                             Troy, MI 48084
                             (248) 457-7020


                                     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

                                                       ORAL ARGUMENT REQUESTED
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.311 Page 2 of 32




                                                                                  TABLE OF CONTENTS
                             INDEX OF AUTHORITIES.......................................................................................................... iii

                             CONCISE STATEMENT IN SUPPORT OF PLAINTIFFS’ POSITION .................................... vi

                             STATEMENT OF FACTS ............................................................................................................. 1

                             STANDARD OF REVIEW ............................................................................................................ 1

                             ARGUMENT .................................................................................................................................. 2

                                I.        PLAINTIFFS HAVE STANDING. ..................................................................................... 2

                                     A.        The Federal Claims. ...................................................................................................... 2
Great Lakes Justice Center




                                     B.        The State Claims. .......................................................................................................... 6

                                II. PLAINTIFFS HAVE PROPERLY PLED VIOLATIONS OF THE LAW......................... 7

                                     A.        Count I – Defendants Acted Without Legal Authority. ................................................ 7

                                     B.        Count II – The School District Violated the Matt Epling Safe School Law............... 12

                                     C.        Count III – Parent’s Fundamental Constitutional Rights............................................ 12

                                     D.        Count IV – Right to Privacy, Personal Autonomy, and Personal Identity. ................ 14

                                     E.        Counts V and VI – Freedom of Speech and Free Exercise of Religion. .................... 16

                                     F.        Count VII – Michigan Constitutional Violations........................................................ 17

                                     G.        Count VIII – Title IX Violation. ................................................................................. 17

                                     H.        Count IX – Constitutional Vagueness Violations. ...................................................... 18

                                     I.        Count X – Elliott-Larsen Civil Rights Act Violation (ELCRA)................................. 20

                                III. DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY. ....................... 24

                             CONCLUSION ............................................................................................................................. 25

                                                                                                    ii
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.312 Page 3 of 32




                                                               INDEX OF AUTHORITIES

                             CASES:

                             Aetna Life Ins. Co. v. Haworth, 300 U.S. 227 (1937)         .     .      .     .      2

                             Allen v. Wright, 468 U.S. 737, 104 S.Ct. 3315 (1984)        .     .      .     .      4

                             Axson-Flynn v. Johnson, 356 F.3d 1277 (10th Cir. 2004)      .     .      .     .      16, 17

                             Bell A. Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955 (2007)    .      .     .      1

                             Bennett v. Spear, 520 U.S. 154, 117 S.Ct. 1154 (1997)       .     .      .     .      2

                             Columbia Broad. Sys., Inc. v. United States, 316 U.S. 407 (1942) .       .     .      3

                             Cnty. of Sacramento v. Lewis, 523 U.S. 833 (1998) .         .     .      .     .      25
Great Lakes Justice Center




                             Department of Civil Rights ex rel Forton v. Waterford Tp Dept of Parks and Recreation,
                             425 Mich. 173 (1986) .       .       .       .      .     .       .      .      .      23

                             Doe v. Bolton, 410 U.S. 179 (1973) .          .         .   .     .      .     .      3

                             Financial General Bankshares, Inc. v. Metzger, 680 F.2d 768 (D.C. Cir. 1982)   .      6

                             Hall v. Tollett, 128 F.3d 418 (6th Cir. 1997) .         .   .     .      .     .      25

                             Hawley v. City of Cleveland, 773 F.2d 736 (6th Cir. 1985) .       .      .     .      4, 5

                             Hobbie v. Unemployment Appeals Comm'n of Florida,
                             480 U.S. 136, 107 S.Ct. 1046 (1987) .  .       .            .     .      .     .      17

                             Horner v. Kentucky High School Athletic Ass'n, 43 F.3d 265 (6th Cir. 1994)     .      18

                             Hydrick v. Hunter, 669 F.3d 937 (9th Cir. 2012)         .   .     .      .     .      25

                             J.F. Cavanaugh & Co. v. City of Detroit, 126 Mich. App. 627, 337 N.W.2d 605 (1983)    7

                             Kassab v. Michigan Basic Property Ins Ass'n, 441 Mich. 433 (1992)        .     .      22

                             Kolender v. Lawson, 461 U.S. 352 (1983)       .         .   .     .      .     .      19

                             Lansing Schools Educ. Ass'n v. Lansing Bd. of Educ.,
                             487 Mich. 349 792 N.W.2d 686 (2010)        .       .        .     .      .     .      7

                             Lujan v. Defenders of Wildlife, 504 U.S. 555, 112 S.Ct. 2130 (1992)      .     .      3

                                                                               iii
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.313 Page 4 of 32




                             Metro. Wash. Airports Auth. v. Citizens for Abatement of Aircraft Noises, Inc.,
                             501 U.S. 252 (1991) .        .       .       .     .       .       .       .      .        3

                             Miller v. CA Muer Corp, 420 Mich. 355 (1985)          .     .      .       .      .        23

                             Myers v. Richland County, 429 F.3d 740 (8th Cir. 2005)      .      .       .      .        6

                             Nat’l Rifle Assoc. of Am. v. Magaw, 132 F.3d 272 (6th Cir. 1997)   .       .      .        3

                             Obergefell v. Hodges, 135 S.Ct. 2584 (2015) .         .     .      .       .      .        14-16

                             O’Donnell v. Brown, 335 F.Supp.2d 787 (W.D. Mich. 2004)            .       .      .        24

                             Pearson v. Callahan, 555 U.S. 223 (2009)     .        .     .      .       .      .        24

                             People v. Llewellyn, 401 Mich. 314, 257 N.W.2d 902 (1977)          .       .      .        8-12

                             Planned Parenthood Ass’n v. City of Cincinnati, 822 F.2d 1390 (6th Cir. 1987)     .        3
Great Lakes Justice Center




                             Rice v. President & Fellows of Harvard College, 663 F.2d 336 (1st Cir. 1981)      .        6

                             Saucier v. Katz, 533 U.S. 194 (2001) .       .        .     .      .       .      .        24

                             Scalise v. Boy Scouts of America, 265 Mich. App. 1 (2005) .        .       .      .        22

                             Sierra Club v. Morton, 405 U.S. 727, 95 S.Ct. 1361 (1972) .        .       .      .        4

                             Sykes v. United States, 507 Fed. Appx. 455 (6th Cir. 2012) .       .       .      .        1

                             Troxel v. Granville, 530 U.S. 57, 120 S.Ct. 2054 (2000)     .      .       .      .        13, 14

                             United States v. SCRAP, 412 U.S. 669, 93 S.Ct. 2405 (1973)         .       .      .        4

                             Virginia v. American Booksellers Association, Inc., 484 U.S. 383, 108 S.Ct. 636 (1988)     5, 6

                             Wernecke v. Garcia, 591 F.3d 386 (5th Cir. 2009)      .     .      .       .      .        24

                             Whirlpool Corp v. Civil Rights Com'n, 425 Mich. 527 (1986)         .       .      .        23

                             Whitman v. Mercy-Memorial Hosp, 128 Mich. App. 155 (1983)          .       .      .        22

                             STATUTES:

                             Elliott-Larsen Civil Rights Act (MCL 37.2101 et. seq.)      .      .       .      .      10, 20, 21

                             MCL 380.10 .          .       .      .       .        .     .      .       .      .        12, 13

                                                                              iv
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.314 Page 5 of 32




                             MCL 380.1310b(5)(c) .        .       .   .       .   .   .   .   .    12

                             MCL 750.343a            .    .       .   .       .   .   .   .   .    8

                             CONSTITUTIONS:

                             U.S. Const. am 14       .    .       .   .       .   .   .   .   .    18

                             U.S. Const. art. III, § 2    .       .   .       .   .   .   .   .    2

                             Michigan Const. 1963, art I, §17     .   .       .   .   .   .   .    18

                             Michigan Const., 1693, art. VIII, §2 .   .       .   .   .   .   .    17

                             COURT RULES:

                             Fed. R. Civ. P. 8(a)(2) .    .       .   .       .   .   .   .   .    1
Great Lakes Justice Center




                             Fed. R. Civ. P. 12(b)(6)     .       .   .       .   .   .   .   .    1, 2

                             Fed. R. Civ. P. 56      .    .       .   .       .   .   .   .   .    2




                                                                          v
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.315 Page 6 of 32




                                        CONCISE STATEMENT IN SUPPORT OF PLAINTIFFS’ POSITION

                                    As outline below, Plaintiffs have standing to bring both federal and state claims against

                             Defendants and this case is justiciable. Plaintiffs have suffered an injury-in-fact as to the federal

                             claims and do have an individual interest as to the state claims, thus satisfying the requirements

                             for standing. Further, Defendants violated Plaintiffs’ constitutional and statutory rights through the

                             adoption and implementation of the contested policies. For all the reasons stated below, these

                             issues are ripe for this Court’s review. Finally, qualified immunity does not bar Plaintiffs’ claims.

                             Plaintiffs request this Court to deny Defendants’ Motion to Dismiss in its entirety.
Great Lakes Justice Center




                                                                              vi
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.316 Page 7 of 32




                                                                  STATEMENT OF FACTS

                                     The Williamston Community School District Board of Education (WCS) adopted or

                             amended numerous policies on October 2, 2017 and November 6, 2017. The policies at issue in

                             this case are 4900, 7500, 8010, 8011, 8040, 8260-R, and 8720 (attached as Exhibit A). Plaintiffs

                             Edward W. Reynolds and Erin L. Reynolds are married and have two children, A.R. and E.R., who

                             were enrolled in at WCS. As a result of the newly-adopted policies and the discrimination against

                             them and their beliefs, the Reynolds believe they had no alternative but to enroll their children in

                             a private school.

                                     Plaintiff Monica C. Schafer resides in the Williamston School District and is the mother of
Great Lakes Justice Center




                             children who are currently enrolled at WCS. Plaintiff Christopher D. Johnecheck also resides in

                             the Williamston School District and is the father of children who are currently enrolled at WCS.

                             A.B. is a minor who currently attends WCS. Defendants violated Plaintiffs’ constitutional and

                             statutory rights, injured Plaintiffs, and the WCS policies must be overturned. Due to this matter

                             being heard on a Fed. R. Civ. P. 12(b)(6) motion, the relevant facts and circumstances are

                             contained in Plaintiffs’ Complaint.

                                                                 STANDARD OF REVIEW

                                     In order to prevail against a Motion to Dismiss under Rule 12(b)(6) for failure to state a

                             claim, the complaint must contain “a short and plain statement of the claim showing that the

                             pleader is entitled to relief” in order to provide fair notice to the defendant of what the claim is and

                             the grounds upon which it rests. Fed. R. Civ. P. 8(a)(2); Sykes v. United States, 507 Fed. Appx.

                             455, 457 (6th Cir. 2012) (Citing Bell A. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955

                             (2007). The Court must assume the factual allegations of the complaint are true and decide whether

                             the complaint states a plausible claim for relief. Id. When ruling on a motion to dismiss under Rule



                                                                                1
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.317 Page 8 of 32




                             12(b)(6), the Court may consider public records and exhibits attached to the complaint without

                             converting the motion to one for summary judgment under Fed. R. Civ. P. 56. Id.

                                                                          ARGUMENT

                             I.       PLAINTIFFS HAVE STANDING.

                                  A. The Federal Claims.

                                      Article III of the U.S. Constitution grants the federal courts the authority to adjudicate

                             actual “cases” or “controversies.” U.S. Const. art. III, § 2. As defined by the Supreme Court,

                                         A justiciable controversy is . . . distinguished from a difference or dispute of a
                                         hypothetical or abstract character, from one that is academic or moot. The
                                         controversy must be definite and concrete, touching the legal relations of parties
                                         having adverse legal interests. It must be a real and substantial controversy
Great Lakes Justice Center




                                         admitting of specific relief through a decree of a conclusive character, as
                                         distinguished from an opinion advising what the law would be upon a
                                         hypothetical state of facts.

                             Aetna Life Ins. Co. v. Haworth, 300 U.S. 227, 240-241 (1937) (citations omitted). Plaintiffs’

                             claims are not “hypothetical,” “abstract,” or “moot;” Plaintiffs assert a “real and substantial

                             controversy.” Id. Likewise, Plaintiffs seek from this Court “specific relief through a decree of a

                             conclusive character.” Id. The United States Supreme Court also held:

                                      To satisfy the "case" or "controversy" requirement of Article III, which is the
                                      "irreducible constitutional minimum" of standing, a plaintiff must, generally
                                      speaking, demonstrate that he has suffered "injury in fact," that the injury is "fairly
                                      traceable" to the actions of the defendant, and that the injury will likely be redressed
                                      by a favorable decision.

                             Bennett v. Spear, 520 U.S. 154, 162; 117 S.Ct. 1154 (1997). Plaintiffs have proper standing as to

                             the federal claims because of the grounds underlying each count (Counts III, IV, V, VI, VIII, IX).

                             The following are examples of how Plaintiffs have been injured in this case:

                                  •   Defendants violated Plaintiffs’ fundamental right to direct and control the upbringing and
                                      education of their children by adopting a policy (8011), whereby Defendants can refuse to
                                      notify a parent of the assertion of any gender or sexual orientation choice purportedly made
                                      by their child at school.


                                                                                 2
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.318 Page 9 of 32




                                •   The result of Defendants’ violations of Plaintiffs’ rights required the Reynolds family, as
                                    a matter of conscience, to remove their children from the School District and place them
                                    in private school for their safety and wellbeing, thereby incurring additional costs and
                                    expenses.
                                •   Defendants violated Plaintiffs’ rights by adopting policies (8010 and 8011) which permit
                                    students and other individuals to use the showers, locker rooms, bathrooms and other
                                    facilities of the opposite sex.
                                •   Defendants violated Plaintiffs’ rights by threatening to punish or impose discipline on any
                                    student or parent for alleged violations of Defendants’ new policies.
                                •   Defendants violated Plaintiffs’ of their personal choices central to individual dignity and
                                    autonomy, including intimate choices defining personal identity and beliefs by
                                    stigmatizing and labeling their sincerely held religious beliefs as discriminatory or acts of
                                    bullying.

                                    In this case, all of Plaintiffs’ injuries are a direct result of, and fairly traceable to,

                             Defendants’ adoption and implementation of the contested policies. “[C]ourts have routinely found
Great Lakes Justice Center




                             sufficient adversity between the parties to create a justiciable controversy when suit is brought by

                             the particular plaintiff subject to the regulatory burden imposed by a statute.” Nat’l Rifle Assoc. of

                             Am. v. Magaw, 132 F.3d 272, 282 (6th Cir. 1997) (finding that gun manufacturers and dealers had

                             standing to make a pre-enforcement challenge to a criminal statute that “targeted [them] for

                             regulation”); Doe v. Bolton, 410 U.S. 179 (1973) (same); see also Planned Parenthood Ass’n v.

                             City of Cincinnati, 822 F.2d 1390, 1395 (6th Cir. 1987) (holding that where a plaintiff “would be

                             subject to application of the [challenged] statute,” that is sufficient to confer standing). And when

                             the plaintiff is the subject of the challenged action, as Plaintiffs here, “there is ordinarily little

                             question that the action or inaction has caused him injury.” Lujan v. Defenders of Wildlife, 504

                             U.S. 555, 561-562; 112 S.Ct. 2130 (1992).

                                    Indeed, absent judicial relief, the policies hang over Plaintiffs’ head “like the sword over

                             Damocles, creating a ‘here-and-now subservience.’” See, e.g., Metro. Wash. Airports Auth. v.

                             Citizens for Abatement of Aircraft Noises, Inc., 501 U.S. 252, 265 n.13 (1991). The inevitable

                             action causing harm—the enactment of the policies—has arrived. See generally Columbia Broad.

                             Sys., Inc. v. United States, 316 U.S. 407, 418 (1942) (noting that the exercise of governmental rule-

                                                                               3
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.319 Page 10 of 32




                             making power “sets a standard of conduct for all to whom its terms apply, [and i]t operates as such

                             in advance of the imposition of sanctions upon any particular individual,” observing that “[i]t is

                             common experience that men conform their conduct to regulations by governmental authority so

                             as to avoid the unpleasant legal consequences which failure to conform entails”) (emphasis added).

                                     As a result, Plaintiffs are compelled to change their behavior to comply with Defendants’

                             policies, and Plaintiffs need not wait for the inevitable additional future harm to seek relief from

                             this Court. Plaintiffs have standing because they have alleged a “personal injury” that is “fairly

                             traceable” to Defendants’ policies and is “likely to be redressed by the requested relief.” Allen v.

                             Wright, 468 U.S. 737, 751; 104 S.Ct. 3315 (1984). It is certain that Plaintiffs’ injuries would be
Great Lakes Justice Center




                             redressed by a favorable decision overturning said policies.

                                     In Hawley v. City of Cleveland, 773 F.2d 736 (6th Cir. 1985), Plaintiffs sued the city for

                             violation of their constitutional rights because the city was renting part of the city airport to a

                             catholic diocese at a favorable rate. The Hawley Court first analyzed Sierra Club v. Morton, 405

                             U.S. 727, 95 S.Ct. 1361 (1972) (While the Court held that Plaintiff did not have standing as a

                             “representative of the public,” Plaintiff could amend its complaint to make “allegations concerning

                             individual members' use of the park being affected by the challenged action [which] would be

                             sufficient to confer standing.”) and United States v. SCRAP, 412 U.S. 669, 739-740; 93 S.Ct. 2405

                             (1973) (Holding that Plaintiffs alleging that a proposed railroad freight hike would discourage

                             recycling of disposable cans and bottles and thus damage Washington area national parks was

                             sufficient for standing.).

                                     The Hawley Court then stated:

                                     In ACLU v. Rabun County, 698 F.2d 1098 (11th Cir.1983), modifying, 678 F.2d
                                     1379 (11th Cir.1982), plaintiffs, the ACLU and five individuals, brought suit
                                     alleging that the maintenance of a large, illuminated latin cross in a Georgia state
                                     park violated the Establishment Clause. The individual plaintiffs were residents of
                                     Georgia. Only one had actually seen the cross; the others learned of the cross from

                                                                              4
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.320 Page 11 of 32




                                     anonymous phone calls and news releases. Two of the plaintiffs testified that they
                                     camped regularly, although not in the park where the cross was located. Each of
                                     the individual plaintiffs testified that they would not use the state park as long
                                     as the cross remained there, because of both its physical and meta-physical
                                     impact. The court held that although the plaintiffs' underlying motivations
                                     could "be described as either a spiritual belief or a commitment to separation
                                     of church and state," they had "demonstrated an individualized injury, other
                                     than a mere psychological reaction, which they have suffered 'as a
                                     consequence' of the challenged action." With regard to the two plaintiffs who
                                     testified that they were campers, the court found that they had sufficiently
                                     demonstrated particularized and personalized noneconomic injury to distinguish
                                     them from the general citizenry who may be as equally offended on a philosophical
                                     basis but who are not as specifically or perceptibly harmed, consistent with both
                                     the prior precedent defining noneconomic injuries in general and the decision in
                                     Valley Forge, to provide them with a "personal stake in the controversy."

                             Hawley, 773 F.2d at 740 (Emphasis added) (Internal citations omitted).
Great Lakes Justice Center




                                     If Plaintiffs in Rabun County had standing, despite their distant connection to the location

                             and cross in controversy, then certainly Plaintiffs in this case have standing. Plaintiffs are residents

                             and pay taxes in the Williamston district, attend WCS as either parents or students, and have a

                             “personal stake in the controversy.” Further, just as in Rabun County, the Reynolds family in this

                             case removed their children from WCS and, as a matter of conscience, cannot return unless the

                             policies are rescinded.

                                     Plaintiffs also have standing because of the serious First Amendment implications in this

                             case. In Virginia v. American Booksellers Association, Inc., 484 U.S. 383, 108 S.Ct. 636 (1988),

                             Plaintiffs brought a lawsuit challenging a state statute regarding the display of potentially obscene

                             materials in bookstores. The State argued that Plaintiffs lacked standing because the statute was

                             recently enacted, had not yet been applied to Plaintiffs, and that Plaintiffs had not suffered

                             sufficient harm. Id. at 392. However, the Supreme Court held:

                                     We are not troubled by the preenforcement nature of this suit. The State has not
                                     suggested that the newly enacted law will not be enforced, and we see no reason to
                                     assume otherwise. We conclude that plaintiffs have alleged an actual and well-
                                     founded fear that the law will be enforced against them. Further, the alleged


                                                                                5
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.321 Page 12 of 32




                                    danger of this statute is, in large measure, one of self-censorship; a harm that
                                    can be realized even without an actual prosecution.

                             Id. at 393 (Emphasis added). In this case, Plaintiffs raise serious First Amendment issues relating

                             to both freedom of speech and freedom of religious expression. Plaintiffs have already been injured

                             by the policies being adopted and implemented. Further, the polices now chill students’ and

                             parents’ speech out of fear that if they speak to social issues, like marriage and gender identity,

                             WCS will stigmatize and punish them.

                                B. The State Claims.

                                    Plaintiffs also have proper standing as to their state claims (Counts I, II, III, VII, and X).

                             When a Plaintiff brings state claims in federal court, the federal court must apply that state’s law
Great Lakes Justice Center




                             as to standing. The Court of Appeals has held:

                                    A federal court cannot hear Myers's breach of contract claim unless he has
                                    standing to sue under North Dakota state law. See Metropolitan Express Servs.,
                                    Inc. v. City of Kansas City, 23 F.3d 1367, 1369 (8th Cir. 1994) (applying state law
                                    of standing in federal diversity case); Westborough Mall, Inc. v. City of Cape
                                    Girardeau, 693 F.2d 733, 747-48 (8th Cir. 1982) (analyzing standing to raise a
                                    state claim in federal court under state law).

                             Myers v. Richland County, 429 F.3d 740, 749 (8th Cir. 2005) (Emphasis added). See also, Financial

                             General Bankshares, Inc. v. Metzger, 680 F.2d 768, 777 (D.C. Cir. 1982) (The Court analyzed

                             Rice v. President & Fellows of Harvard College, 663 F.2d 336 (1st Cir. 1981) and noted that the

                             Court of Appeals utilized a state Supreme Court decision to determine standing as to Plaintiff’s

                             state claims.) Thus, standing must be determined pursuant to Michigan law.

                                    Michigan is not bound by the “case and controversy” language of Article III of the U.S.

                             Constitution, and has a much broader approach to the issue of standing. The Michigan Supreme

                             Court recently held:

                                    The purpose of the standing doctrine is to assess whether a litigant's interest in the
                                    issue is sufficient to "ensure sincere and vigorous advocacy." Detroit Fire Fighters
                                    Ass'n v. Detroit, 449 Mich. 629, 633, 537 N.W.2d 436 (1995). Thus, the standing

                                                                              6
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.322 Page 13 of 32




                                      inquiry focuses on whether a litigant “is a proper party to request adjudication of a
                                      particular issue and not whether the issue itself is justiciable.”

                             Lansing Schools Educ. Ass'n v. Lansing Bd. of Educ., 487 Mich. 349, 355; 792 N.W.2d 686 (2010).

                             The Court further held that “[g]enerally, the court exercised its discretion to hear a case if the

                             citizen had ‘some individual interest in the subject matter of [the] complaint which is not common

                             to all the citizens of the state....’” Id. at 356. Plaintiffs have an interest in this case that is not

                             common to all citizens of the state of Michigan. Plaintiffs reside in the Williamston school district,

                             attended WCS, pay Williamston taxes, vote in Williamston elections, and have a deep and personal

                             interest in how their local schools operate. This is enough to establish standing under Michigan

                             law regarding Plaintiffs’ state claims. The Michigan Supreme Court further held:
Great Lakes Justice Center




                                      References to standing became more frequent in Michigan's modern jurisprudence,
                                      and the doctrine was developed more extensively but remained a prudential limit
                                      that could, within the Court's discretion, be ignored. Further, the fact that there
                                      was a cause of action under law, or the Legislature expressly conferred standing,
                                      was sufficient to establish standing. Where a party was seeking declaratory
                                      relief, the Court repeatedly held that meeting the requirements of the court
                                      rule governing declaratory actions was sufficient to establish standing.

                             Id. at 356-357 (Emphasis added). Not only do Plaintiffs in this case meet the requirements for

                             standing, this Court may ignore the standing requirements for Plaintiffs’ state claims. Further,

                             Plaintiffs are seeking declaratory relief in this case, which alone is sufficient to establish standing

                             as to any state claims. Clearly, Plaintiffs have proper standing to raise their state claims.

                             II.      PLAINTIFFS HAVE PROPERLY PLED VIOLATIONS OF THE LAW.

                                   A. Count I – Defendants Acted Without Legal Authority.

                                      The Michigan Elliott-Larsen Civil Rights Act (ELCRA) occupies the field of

                             discrimination law in the area of education. It was outside the scope of WCS’ authority to enact

                             anti-discrimination policies when the Michigan Legislature has already passed laws in that field

                             which preempt any locality’s attempt to legislate in that area. The ACLU argued that J.F.


                                                                               7
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.323 Page 14 of 32




                             Cavanaugh & Co. v. City of Detroit, 126 Mich. App. 627, 337 N.W.2d 605 (1983) addressed the

                             issue of whether ELCRA preempts school districts from adopting discrimination polices.

                             However, J.F. Cavanaugh had nothing to do with schools, school districts, education, or whether

                             ELCRA preempts school districts from adopting polices regarding discrimination. The court

                             acknowledged this when it held:

                                    We will limit our consideration of the preemption question to the regulation of
                                    municipal contractors in the field of civil rights.

                             Id. at 632-633. ELCRA regulates discrimination on the basis of employment (Article 2), public

                             accommodations (Article 3), education (Article 4), and real estate transactions (Article 5). J.F.

                             Cavanaugh only dealt with whether ELCRA preempted policies regarding municipal contractors,
Great Lakes Justice Center




                             an issue not present in this case. Moreover, it is understandable that the Court would issue such a

                             holding, because ELCRA does not primarily regulate municipal contractors. However, ELCRA

                             does specifically and exhaustively regulate discrimination in the realm of education (Article 4).

                             Thus, J.F. Cavanaugh is wholly inapplicable to the case at bar and provides no insight as to

                             whether ELCRA preempts in an area it explicitly regulates, i.e. education.

                                    The Michigan Supreme Court outlined the elements a court must analyze to determine

                             whether a statute passed by the Michigan Legislature occupies a field of law in People v. Llewellyn,

                             401 Mich. 314, 257 N.W.2d 902 (1977). In Llewellyn, the City of East Detroit passed its own

                             criminal ordinances regarding obscenity. Id. at 319. However, at the time Llewellyn was decided,

                             the Michigan Legislature already enacted statutes regarding criminal obscenity. MCL 750.343a.

                             Id. The Court held:

                                    In making the determination that the state has thus preempted the field of regulation
                                    which the city seeks to enter in this case, we look to certain guidelines. First, where
                                    the state law expressly provides that the state's authority to regulate in a specified
                                    area of the law is to be exclusive, there is no doubt that municipal regulation is
                                    preempted. Second, preemption of a field of regulation may be implied upon an
                                    examination of legislative history. Third, the pervasiveness of the state regulatory

                                                                              8
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.324 Page 15 of 32




                                    scheme may support a finding of preemption. While the pervasiveness of the state
                                    regulatory scheme is not generally sufficient by itself to infer preemption, it is a
                                    factor which should be considered as evidence of preemption. Fourth, the nature of
                                    the regulated subject matter may demand exclusive state regulation to achieve the
                                    uniformity necessary to serve the state's purpose or interest.

                             Id. at 323-324 (Internal citations omitted).

                                    Initially, the Llewellyn Court analyzed preemption in a similar case:

                                    [W]here the Court has found that the nature of the subject matter regulated called
                                    for a uniform state regulatory scheme, supplementary local regulation has been held
                                    preempted. Especially pertinent to the instant case in this regard is Walsh v. City of
                                    River Rouge, supra, where this Court held preempted a municipal ordinance
                                    granting certain emergency powers to the mayor. The subject matter of the
                                    ordinance in Walsh involved the potential restriction of important civil
                                    liberties of the people, as does the case before us. The Court apparently
                                    concluded that the protection of these important civil liberties demanded that
Great Lakes Justice Center




                                    the state retain sole control of the circumstances under which the emergency
                                    powers would be exercised.

                             Id. at 325 (Emphasis added). Similarly, the case at bar involves the “potential restriction of

                             important civil liberties of the people.” Indeed, the fundamental rights of freedom of speech,

                             religious exercise, and parental rights are just an example of the important civil rights at issue.

                                    The Court analyzed whether Michigan’s state obscenity statute expressly provides for

                             preemption. Both in Llewellyn and the current case, the state statues (ELCRA and the state

                             obscenity law) do not expressly provide for preemption.

                                    The Court ultimately found preemption based upon the third and fourth factors of the test.

                             The Court analyzed whether the state obscenity statute was a pervasive regulatory scheme:

                                    In enacting the present statutory scheme, M.C.L.A. § 750.343a et seq.; M.S.A. §
                                    28.575(1) et seq., the Legislature replaced its much simpler predecessor, M.C.L.A.
                                    § 750.343; M.S.A. § 28.575 with a detailed five-section statutory framework
                                    intended to define and regulate obscenity.

                             Id. at 326-327. The Court held that because the obscenity statute specifically addressed the

                             conduct, penalty, definition, standards, etc., of obscenity, it was a clear indication of the

                             Legislature’s intent to occupy the field. Id.

                                                                               9
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.325 Page 16 of 32




                                    Just as in Llewellyn, the Michigan Legislature passed ELCRA, which is a detailed, eight

                             article, regulatory scheme for discrimination. If a simple criminal statute regarding obscenity

                             preempts the field, then certainly an even more complex regulatory scheme regarding

                             discrimination is a pervasive regulatory scheme. For example, ELCRA:

                                •   Defines and provides for the different classifications of discrimination that are prohibited.
                                    MCL 37.2102(1).
                                •   Provides with particularity the definitions and standards, not only for the whole Act, but in
                                    particular for the field of education. MCL 37.2103 and 37.2401.
                                •   Extensively and thoroughly regulates numerous different types of discrimination in the
                                    field of education and dedicates an entire article of the act to discrimination in the field of
                                    education. MCL 37.2401, 37.2402, 37.2402a, 37.2403, 37.2404, 37.2404a.
                                •   Provides for the type of regulation and punishment for engaging in discrimination. MCL
                                    37.2801, 37.2802, 37.2803.
                                •   Provides for a mechanism for appeal and for de novo judicial review. MCL 37.2606.
Great Lakes Justice Center




                                •   Regulates the entire Civil Rights Commission, whose sole function is to investigate and
                                    adjudicate discrimination issues. MCL 37.2601, 37.2602.

                                    Unmistakably, the Michigan Legislature established a highly pervasive regulatory scheme

                             when it enacted ELCRA, especially in the field of education. ELCRA not only defines the types

                             of discrimination prohibited in education, it establishes procedures, methods of investigation, and

                             adjudication of discriminatory acts in the field of education.

                                    The Llewellyn Court held:

                                    The breadth and detail of this statutory scheme provides an indication that the
                                    Legislature has preempted the definition and deterrence of criminal obscenity, at
                                    least to the exclusion of a supplementary ordinance such as the one before us, which
                                    seeks to establish its own definition and test for obscenity, to modify the state
                                    standards for a prima facie case of the prohibited conduct, and to alter the state
                                    prescribed punishment upon conviction.
                                    This conclusion is buttressed by the fact that, for reasons discussed below, the
                                    definition and prohibition of obscenity offenses is clearly an area of the law which
                                    demands uniform, statewide treatment.
                                    First, it seems clear that if each locality in the state of Michigan were allowed
                                    to establish its own definition of obscenity, a great deal of uncertainty and
                                    confusion would be created. We observe that no less than the United States
                                    Supreme Court has had over a period of decades considerable difficulty in defining
                                    the line between obscenity and protected speech and determining what material
                                    constituted obscenity under such a definition. To allow each of the multitude of
                                    Michigan localities to establish its own definition of obscenity would be to invite
                                                                              10
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.326 Page 17 of 32




                                    the cultivation of a legal thicket which would make both the scope of the individual
                                    right to free expression and the permissible prohibition of obscenity well-nigh
                                    impossible to determine.
                                    Second, a balkanized system of obscenity definition and prohibition would,
                                    through the resultant confusion and provocation of endless appeals, both
                                    threaten important individual rights and undermine efficiency in the control
                                    of obscenity.

                             Id. at 327-328 (Emphasis added). One could replace “obscenity” with “educational discrimination”

                             in the above quote, and the Court’s holding would perfectly apply to this case. The Michigan

                             Legislature enacted ELCRA to establish a uniform, state-wide standard for discrimination in the

                             field of education. As of 2017, Michigan has 538 different public-school districts (Local

                             Educational Authorities or Agencies) and 301 Public School Academies that adopt and establish
Great Lakes Justice Center




                             their own policies and procedures. 1 It is highly unlikely that the Michigan Legislature, when

                             enacting ELCRA, intended to permit 839 different variations, policies, procedures, punishments,

                             etc. for each school in the state. To the contrary, it is clear that a uniform system is crucial to the

                             proper and consistent enforcement against prohibited educational discriminatory conduct.

                                    Finally, it is important to note that Plaintiffs are not claiming that ELCRA preempts all

                             laws regarding all types of discrimination in all areas of life. Rather, Plaintiffs are arguing that

                             ELCRA preempts in the fields it specifically regulates, i.e., discrimination in the areas of

                             employment, education, public accommodations, and real property transfers. The Llewellyn Court

                             acknowledged this principle because it held that while the legislature’s criminal obscenity statute

                             preempts local criminal ordinances, it does not preempt all fields of obscenity, such as municipal

                             zoning. Id. at 320.

                                    It is also of the utmost importance that any student facing allegations of discriminatory

                             conduct be afforded due process through consistent policies and procedures. This cannot occur if


                             1
                              According to the Michigan Department of Education,
                             http://www.michigan.gov/documents/numbsch_26940_7.pdf.

                                                                               11
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.327 Page 18 of 32




                             there are 839 different educational discrimination policies in the state. It is clear that ELCRA

                             satisfies the final two factors of the Llewellyn test because ELCRA is both a pervasive regulatory

                             scheme and the issue of educational discrimination demands uniformity throughout the state.

                             Therefore, Defendants policies (7500, 8010, 8011, 8040, and 8720) are all invalid because they

                             regulate discrimination in the field of education which is preempted by ELCRA. 2

                                 B. Count II – The School District Violated the Matt Epling Safe School Law.

                                      The Matt Epling Safe School Law (MCL 380.1310b(5)(c)) (Safe School Law) provides

                             that all school district bullying policies must include “[a] provision indicating that all pupils are

                             protected under the policy and that bullying is equally prohibited without regard to its subject
Great Lakes Justice Center




                             matter or motivating animus” (emphasis added). A plain review of WCS policies reveals a

                             violation of the Safe School Law because they refer to specific subject matters and motivating

                             animus by adding and specifically listing new privileged categories to its bullying and gender

                             identity policies (8011 and 8260-R). WCS’ policy does not comply with state law and must only

                             state that all bullying is prohibited, regardless of subject matter, motivating animus, or category.

                                 C. Count III – Parent’s Fundamental Constitutional Rights.

                                      MCL 380.10 states:

                                      It is the natural, fundamental right of parents and legal guardians to determine and
                                      direct the care, teaching, and education of their children. The public schools of this
                                      state serve the needs of the pupils by cooperating with the pupil's parents and legal
                                      guardians to develop the pupil's intellectual capabilities and vocational skills in a
                                      safe and positive environment.

                                      Further, the United States Supreme Court held:

                                      The liberty interest at issue in this case—the interest of parents in the care,
                                      custody, and control of their children— is perhaps the oldest of the

                             2
                               Just to be clear, Plaintiffs do not allege ELCRA preempts a local school district’s bullying policy because the
                             legislature specifically directs local school districts to adopt bullying policies pursuant to the Safe School Law. Rather,
                             Plaintiff does assert that Defendants violated the Safe School Law because they specifically list discriminatory
                             categories, instead of properly stating that all bullying is prohibited without regard to any subject matter or motivating
                             animus.

                                                                                        12
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.328 Page 19 of 32




                                       fundamental liberty interests recognized by this Court. More than 75 years ago,
                                       in Meyer v. Nebraska, 262 U.S. 390, 399, 401 (1923), we held that the "liberty"
                                       protected by the Due Process Clause includes the right of parents to "establish a
                                       home and bring up children" and "to control the education of their own." Two
                                       years later, in Pierce v. Society of Sisters, 268 U.S. 510, 534-535(1925), we again
                                       held that the "liberty of parents and guardians" includes the right "to direct the
                                       upbringing and education of children under their control." We explained in Pierce
                                       that "[t]he child is not the mere creature of the State; those who nurture him and
                                       direct his destiny have the right, coupled with the high duty, to recognize and
                                       prepare him for additional obligations." Id., at 535. We returned to the subject in
                                       Prince v. Massachusetts, 321 U.S. 158 (1944), and again confirmed that there is a
                                       constitutional dimension to the right of parents to direct the upbringing of their
                                       children. "It is cardinal with us that the custody, care and nurture of the child reside
                                       first in the parents, whose primary function and freedom include preparation for
                                       obligations the state can neither supply nor hinder."

                             Troxel v. Granville, 530 U.S. 57, 65-66; 120 S.Ct. 2054 (2000) (Emphasis added).
Great Lakes Justice Center




                                       Thus, parents not only have a fundamental right to direct and control the upbringing of

                             their children, but public schools have an affirmative duty to cooperate with a child’s parents

                             pursuant to MCL 380.10. It cannot be overstated that a parent has a fundamental right to not only

                             be informed, but also be actively involved with a minor who is contemplating gender identity

                             issues. The family’s belief system, religion, and numerous other factors all affect how gender

                             identity issues are handled. However, the WCS policy permits school administrators and faculty

                             to exclude parents from this important issue regarding their child. Policy 8011 (emphasis added)

                             states:

                                       WCS shall accept the gender identity that each student asserts reflecting the
                                       student's legitimately held belief once the student and/or his or her
                                       parent/guardian, as appropriate, notifies District administration that the student
                                       intends to assert a gender identity that differs from previous representations or
                                       records.

                                       The policy, by its clear and unambiguous language, permits a student “or” his or her

                             parent/guardian to notify the district administration about a change in gender identity. Thus, under

                             the policy, any student, in his or her sole judgment, may notify WCS of a change in gender identity

                             and WCS must accept such a change. The policy later states that WCS must merely “consider”

                                                                                 13
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.329 Page 20 of 32




                             their “responsibility to keep parents informed,” rather than affirmatively requiring parental

                             notification, involvement, and consent. The WCS policies infringe upon parental rights by

                             permitting minors, in their sole discretion, to change their gender without any parental involvement

                             or consent. This policy runs afoul of clear Supreme Court precedent and “it cannot now be doubted

                             that the Due Process Clause of the Fourteenth Amendment protects the fundamental right of

                             parents to make decisions concerning the care, custody, and control of their children.” Id. at 66.

                             Defendants’ policy is unconstitutional.

                                 D. Count IV – Right to Privacy, Personal Autonomy, and Personal Identity.

                                     The Supreme Court’s recent ruling in Obergefell v. Hodges, 135 S.Ct. 2584 (2015),
Great Lakes Justice Center




                             affirmed a constitutional right of personal identity and personal autonomy for all citizens. The

                             Court held that one’s right of personal identity precluded any state from proscribing same-sex

                             marriage. Obergefell held “[t]he Constitution promises liberty to all within its reach, a liberty that

                             includes certain specific rights that allow persons, within a lawful realm, to define and express

                             their identity.” Id. at 2593.

                                     Because this Court defined a fundamental liberty right as including “most of the rights

                             enumerated in the Bill of Rights,” and “liberties [that] extend to certain personal choices central

                             to individual dignity and autonomy, including intimate choices that define personal identity and

                             beliefs,” this evolved right of personal identity must also comprehend factual contexts well beyond

                             same-sex marriage. Id. at 2597. This right of personal identity applies not just to those who find

                             their identity in their sexuality and sexual preferences—but also to citizens who define their

                             identity by their religious beliefs.

                                     Many Christian people, for example, find their identity in Jesus Christ and the ageless,

                             sacred tenets of His word in the Holy Bible. For followers of Jesus, adhering to his commands is

                             the most personal choice central to their individual dignity and autonomy. A Christian whose

                                                                              14
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.330 Page 21 of 32




                             identity inheres in their religious faith orientation, is entitled to at least as much constitutional

                             protection as those who find their identity in their sexual preference orientation. There can be no

                             doubt that this right of personal identity protects against government authorities who use public

                             policy to persecute, oppress, and discriminate against Christian people.

                                        According to Obergefell, beyond the First Amendment religious liberty protections

                             expressly enshrined in the Bill of Rights, the substantive due process right to personal identity now

                             provides Christian and other religious people additional constitutional protection. Henceforth,

                             government action not only must avoid compelling a religious citizen to facilitate or participate in

                             policies that are contrary to their freedoms of expression and religious conscience protected by the
Great Lakes Justice Center




                             First Amendment, but it must also refrain from violating their personal identity rights secured by

                             substantive due process.

                                        Pursuant to policies 8010 and 8011, once a student asserts a gender change to the district,

                             the district will grant that student “equal access” to everything the school offers, including

                             bathrooms, locker rooms, and showers. It is important to note that Defendants were careful in their

                             motion to only state that the “policies do not facially state that bathrooms and locker rooms will

                             be shared by males and females.” 3 However, Defendants do not deny, and therefore acknowledge,

                             that the actual result of their policies will be that males and females will share bathrooms and

                             locker rooms.

                                        Forcing biological girls to share bathrooms, locker rooms, and showers, with intact

                             biological males (or vice versa), not only invades Plaintiffs’ privacy, but also infringes on their

                             right to personal autonomy, personal identity, and dignity as established in Obergefel, supra. The

                             contested policies in this case, including polices 8010 and 8011, violate Plaintiffs’ right to personal



                             3
                                 See Defendants’ Motion to Dismiss, pg. 4.

                                                                                15
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.331 Page 22 of 32




                             identity and dignity as they force Plaintiffs to share bathrooms, locker rooms, and showers with

                             members of the opposite biological sex. As stated before, Plaintiffs find their identity in their

                             religious faith and it is against their religion to share such facilities with members of the opposite

                             sex. Therefore, Defendants’ policies violate Plaintiffs’ rights as established in Obergefel, supra.

                                 E. Counts V and VI – Freedom of Speech and Free Exercise of Religion.

                                     It is a very common religious belief, and one that Plaintiffs in this case sincerely hold, that

                             individuals should not observe members of the opposite biological sex undress to the point of

                             nakedness or near nakedness, or shower with members of the opposite sex. Absent particular

                             circumstances, such as marriage or a medical examination, Plaintiffs believe it is against their
Great Lakes Justice Center




                             religion to use bathrooms, locker rooms, or showering facilities where members of the opposite

                             sex have unlimited access and use. Defendants’ policies infringe on Plaintiffs’ beliefs by imposing

                             an unconstitutional choice on Plaintiffs, either lose full use and access to the public schools and

                             their facilities (and the stigma and discrimination that would accompany a student daily refusing

                             to use the public-school facilities), or violate their religious beliefs. This violates Plaintiffs’ right

                             to the free exercise of their religion.

                                     In addition, the contested policies now permit WCS to discipline and sanction any student

                             or parent who speaks out against these policies. These policies have a chilling effect on Plaintiffs

                             and other students’ speech because they are now afraid that if they speak up and support traditional

                             views, WCS will discipline and sanction the student.

                                     In Axson-Flynn v. Johnson, 356 F.3d 1277 (10th Cir. 2004), Plaintiff was in the University

                             of Utah’s Actor Training Program. Id. at 1280. Because of her religious beliefs, she refused to use

                             profanity or do nude scenes as a part of her training. Id. at 1280 and 1281. The Plaintiff in that

                             case was forced between leaving the program or violating her religious beliefs. Id. at 1282. While

                             talking to her instructor, Plaintiff said “If I do not—and this is what you said—modify my values

                                                                                16
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.332 Page 23 of 32




                             by the end of the semester, I’m going to have to find another program. Is that right?” Id. Plaintiff’s

                             instructor responded, “Well yes. We talked about that, yes.” Id. This is the exact same choice

                             Defendants have forced upon Plaintiffs in this case, either modify their religious values, or leave.

                             Unfortunately, as a direct result of Defendants policies, some Plaintiffs in this case have already

                             been forced to make that choice and left WCS. Again, “students do not ‘shed their constitutional

                             rights to freedom of speech or expression at the schoolhouse gate.’” Id. at 1284.

                                    Finally, the Michigan Constitution guarantees to all Michigan citizens the right to the

                             benefit of a free public education. See Michigan Const., 1963, art. VIII, §2. The United States

                             Supreme Court has explicitly rejected that a person can be forced to choose between a government
Great Lakes Justice Center




                             benefit and following his or her religion. “In Sherbert, Thomas, and the present case, the employee

                             was forced to choose between fidelity to religious belief and continued employment; the forfeiture

                             of unemployment benefits for choosing the former over the latter brings unlawful coercion to bear

                             on the employee's choice.” Hobbie v. Unemployment Appeals Comm'n of Florida, 480 U.S. 136,

                             144; 107 S.Ct. 1046 (1987). In the same way, it is unconstitutional for WCS to force Plaintiffs to

                             choose between following their religion and receiving a free public education. Defendants’ policies

                             violated Plaintiffs’ First Amendment rights.

                                F. Count VII – Michigan Constitutional Violations.

                                    Plaintiffs incorporate all arguments from the other corresponding counts regarding freedom

                             of speech, freedom of religion, and discrimination as restated herein as applied to their Michigan

                             Constitutional claims.

                                G. Count VIII – Title IX Violation.

                                    “Title IX provides that ‘[n]o person in the United States shall, on the basis of sex, be

                             excluded from participation in, be denied the benefits of, or be subjected to discrimination under



                                                                              17
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.333 Page 24 of 32




                             any education program or activity receiving Federal financial assistance[.]’ 20 U.S.C. Sec.

                             1681(a).” Horner v. Kentucky High School Athletic Ass'n, 43 F.3d 265, 272 (6th Cir. 1994).

                                    Defendants do not assert that Plaintiffs’ claims of Title IX violations are facially invalid,

                             and they do not discuss any of the merits of Plaintiffs’ Title IX claims. Instead, Defendants merely

                             argue that Plaintiffs do not have standing to raise Title IX because they did not suffer any injury.

                             Plaintiffs therefore incorporate their entire argument above regarding standing.

                                    The Horner Court also held:

                                    Congress has made clear its intent to extend the scope of Title IX's equal
                                    opportunity obligations to the furthest reaches of an institution's programs. We will
                                    not defeat that purpose by recognizing artificial distinctions in the structure or
                                    operation of an institution.
Great Lakes Justice Center




                             Id. Plaintiffs, in particular A.R., E.R., and A.B. were all students at WCS and are directly affected

                             by Defendants’ conduct and policies. Plaintiffs were eligible to join any WCS athletic activities

                             offered. However, Plaintiffs have suffered a loss of opportunity, in violation of Title IX as they

                             must now compete against both sexes for limited spots on a single-sex athletic team.

                                    For example, A.B. must now compete not only against other girls for a spot on the girls’

                             basketball team, but she must now compete against any boys who believe they are girls (Policy

                             8011). Permitting a biological boy to take the spot of a biological girl is, by definition, a loss of

                             opportunity for the girl and a direct violation of Title IX. In addition, because A.R. and E.R. were

                             forced to leave WCS because of the contested policies, they have suffered a loss because they can

                             no longer compete on any of Williamston’s athletic teams.

                                H. Count IX – Constitutional Vagueness Violations.

                                    The Due Process clauses of the United States Constitution and the Michigan Constitution

                             require that the law provide predictability for all citizens. U.S. Const. am 14; Michigan Const.

                             1963, art I, §17. All government enactments must be clear and unambiguous. Further, “[a]lthough


                                                                              18
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.334 Page 25 of 32




                             the doctrine focuses both on actual notice to citizens and arbitrary enforcement, we have

                             recognized recently that the more important aspect of vagueness doctrine "is not actual notice, but

                             the other principal element of the doctrine--the requirement that a legislature establish minimal

                             guidelines to govern law enforcement." Kolender v. Lawson, 461 U.S. 352, 357-358 (1983) The

                             new, protected categories in Defendants’ policies are incapable of clear definition. A person can

                             be accused and charged under the vague terms of such categories for merely expressing a religious

                             belief that another individual internally defines as being offensive to him or her. The determination

                             of whether a person is a member of one of the new protected classes is subjective and in the eye

                             of the beholder. A person cannot know if their conduct is prohibited until after the fact. Thus, even
Great Lakes Justice Center




                             if a parent or student possesses no intent to offend or discriminate, the alleged victim can

                             commence enforcement of this policy and subject the accused to legal costs and sanctions.

                                    For example, a category like “gender expression” (as used in the contested policies) is

                             beyond understanding legally. It is impossible to know what such language, however it is defined,

                             truly means. Categories like “gender identity” and “sexual orientation” have meaning way beyond

                             just homosexuality (as they are never defined in the policies). Therefore, an accuser gets to define

                             what this language means without limit by simply filing charges alleging some statement or action

                             violates the policy.

                                     Some definitions of “sexual orientation” routinely list different lifestyles and then qualify

                             the list by stating, “by orientation or practice, whether past or present.” Since the sexual orientation

                             of the relevant group is never defined in the policies, no reasonable person can understand what it

                             means. Sexual orientation comes in many forms. Does the policy cover groups of people with

                             various sexual orientations? Does it cover the conduct of a group of people whose sexual

                             orientation is for extramarital sex (swingers/adulterers)? Does it cover the conduct of a group of



                                                                               19
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.335 Page 26 of 32




                             people whose sexual orientation is for multiple partners within a marital relationship

                             (polygamists)? Does it cover numerous other groups whose activities are currently illegal?

                                     Given the absence of any clear definition, the ambiguous language of the policies arguably

                             could include any and all such groups. Will an otherwise law abiding parent or student, therefore,

                             face enforcement action for calling pedophilia or polygamy bad or for refusing to accommodate

                             such a person? An individual’s inalienable right to due process and notice forbids such

                             government-imposed guessing games, especially when, as here, the public has no way of

                             predicting what morally-relative choice the proponents will choose when making a decision to

                             take enforcement action against an alleged perpetrator. Thus, the conduct prohibited by such
Great Lakes Justice Center




                             proposed categories wholly depends on the whim of the accuser, based upon their perceived

                             feelings—rather than a clearly expressed standard articulated in the policy. Again, who determines

                             this? Such language is nebulous at best and citizens are left to guess at the meaning. The new

                             categories are vague and ambiguous and must be struck down.

                                 I. Count X – Elliott-Larsen Civil Rights Act Violation (ELCRA).

                                     The preamble of ELCRA states the legislature’s intent (Emphasis added):

                                     AN ACT to define civil rights; to prohibit discriminatory practices, policies, and
                                     customs in the exercise of those rights based upon religion, race, color, national
                                     origin, age, sex, height, weight, familial status, or marital status . . .

                             ELCRA states that a “political subdivision” is considered a “person” under the Act. MCL

                             37.2103(g). ECLRA defines “political subdivision” as “a county, city, village, township, school

                             district, or special district or authority of the state.” MCL 37.2103(h) (Emphasis added). ELCRA

                             further states:

                                     (i) Discrimination because of sex includes sexual harassment. Sexual harassment
                                     means unwelcome sexual advances, requests for sexual favors, and other
                                     verbal or physical conduct or communication of a sexual nature under
                                     the following conditions: . . .


                                                                            20
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.336 Page 27 of 32




                                            (iii) The conduct or communication has the purpose or effect of
                                            substantially interfering with an individual's employment, public
                                            accommodations or public services, education, or housing, or
                                            creating an intimidating, hostile, or offensive employment, public
                                            accommodations,       public  services,   educational, or housing
                                            environment.

                             MCL 37.2103(i) (Emphasis added). In summary, Defendants are covered under the Act, and they

                             may not enact policies which substantially interfere with an individual’s public accommodations

                             or education by creating an intimidating, hostile, or offensive environment.

                                    Defendants’ conduct and communication in the case was the adoption and implementation

                             of the contested policies. Defendants’ policies allow members of the opposite sex to strip naked

                             and shower together which is inherently sexual in nature. To be sure, in any other context, a man
Great Lakes Justice Center




                             and woman disrobing and showering together would be sexual in nature. This policy has deprived

                             Plaintiffs of full access to Defendants’ public accommodation.

                                    Plaintiffs cannot have full use and enjoyment of the locker room where they may undress

                             and shower only under the condition that a person of the opposite biological sex be permitted to

                             join, unannounced, at any time. It was Defendants’ conduct in creating the policy that created the

                             illegally discriminatory environment.

                                    Michigan courts routinely analyze whether a policy, in and of itself, can violate ELCRA.

                             Again, ELCRA’s preamble states that the purpose of the law is “to prohibit discriminatory

                             practices, policies, and customs.…” Preamble to Michigan Public Act 453 of 1976 (Emphasis

                             added). The legislative intent is clear that ELCRA applies to policies.

                                    The Michigan Supreme Court addressed this point:

                                    When there is any doubt about the meaning of statutory language, we have
                                    stated that "a court must look to the object of the statute, the harm which it is
                                    designed to remedy, and apply a reasonable construction which best
                                    accomplishes the statute's purpose." We have also stated that statutory language
                                    must be interpreted in light of "'the subject matter and ... the general scope of the


                                                                             21
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.337 Page 28 of 32




                                    provision, and ... in light of the general purpose sought to be accomplished or the
                                    evil sought to be remedied by the ... statute.'"
                                                                            ***
                                    The purposes of the Civil Rights Act as declared by the Legislature are, in
                                    relevant part: "[T]o define civil rights; to prohibit discriminatory practices,
                                    policies, and customs in the exercise of those rights based upon religion, race,
                                    color, national origin, age, sex, height, weight, or marital status; ... [and] to
                                    provide remedies and penalties...." Preamble to 1976 P.A. 453. …
                                    These provisions, and §§ 301 and 302, clearly express the Legislature's intent
                                    to "eliminate the effects of offensive or demeaning stereotypes, prejudices, and
                                    biases," and guarantee to all Michigan citizens equal access to businesses that
                                    offer goods and services to the public. Moreover, the Civil Rights Act is
                                    remedial in nature and must be liberally construed to provide a broad remedy.

                             Kassab v. Michigan Basic Property Ins Ass'n, 441 Mich. 433, 449-451 (1992) (internal citations

                             omitted) (emphasis added) (overruled in part by Haynes v. Neshewat, 441 Mich. 433 (2007),
Great Lakes Justice Center




                             holding that the Kassab holding was too limited and that ELCRA is to provide an even broader

                             remedy). Moreover, the Court made it clear that courts can properly rely on the preamble of

                             ELCRA to determine legislative intent. Id. It affirmed that such statutory interpretations should be

                             construed liberally to provide plaintiffs with a broad remedy. Id.

                                    Numerous courts have analyzed whether policies violated ELCRA. In Whitman v. Mercy-

                             Memorial Hosp, 128 Mich. App. 155 (1983), the Court of Appeals analyzed whether a hospital’s

                             policy, which did not allow an unmarried father to be present during his child’s birth, violated

                             ELCRA. The Court held:

                                    Had plaintiffs Whitman and Coch been married to one another, it is clear that under
                                    defendant's policy Coch would have been permitted into the delivery room as
                                    Whitman's nonmedical support person. Therefore, defendant's policy clearly
                                    violated the above statutory provision against discrimination on the basis of
                                    marital status.

                             Id. at 160 (Emphasis added). Notably, the Court did not dismiss the case simply because Plaintiff

                             sued over a mere policy. The Court held that adopting and implementing a policy, in and of itself,

                             can violate ELCRA. Michigan courts recognize that it is proper for the court to review policies for

                             ELCRA violations. See, e.g., Scalise v. Boy Scouts of America, 265 Mich. App. 1 (2005),

                                                                             22
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.338 Page 29 of 32




                             Whirlpool Corp v. Civil Rights Com'n, 425 Mich. 527 (1986), Department of Civil Rights ex rel

                             Forton v. Waterford Tp Dept of Parks and Recreation, 425 Mich. 173 (1986). It is clear from the

                             above-cited case law, and the explicit intent of the legislature, that a policy can violate ELCRA.

                                    Defendants’ policy creates a hostile sexual environment for individuals within their

                             respective bathrooms, locker rooms, and showers. In Miller v. CA Muer Corp, 420 Mich. 355

                             (1985), Plaintiff sued for discrimination under ELCRA based on Defendants’ policy that

                             prohibited married couples from working together. Defendants argued that their policy was facially

                             neutral and thus could not violate ELCRA. The Court stated that “[w]e remand, however, for

                             further consideration because impermissible discrimination may occur in the application of a
Great Lakes Justice Center




                             policy not facially discriminatory.” Id. at 358. Further, the Supreme Court held:

                                    We turn to the argument that the instant antinepotism policies are discriminatory as
                                    applied to Miller and Lowry. A facially neutral employment practice can
                                    operate as a mask or pretext for impermissible discrimination. Thus our
                                    decision that the instant policies are facially neutral concerning the criterion of
                                    whether one is married does not preclude a finding that Miller and Lowry were
                                    nevertheless discriminated against because of their marital status or for some other
                                    impermissible reason. Because summary judgments were entered in the instant
                                    cases, there are no factual records concerning the application of the
                                    antinepotism policies. Therefore, these cases are remanded for further
                                    proceedings.

                             Id. at 365-366 (Emphasis added). The Court held that such policies can be discriminatory and one

                             of the key factors is how the policy was created, instituted, and applied, which is a factual finding.

                                    Defendants’ policy (8011) permits anyone who asserts a “legitimately held belief” of being

                             the opposite sex to have “equal access” to everything offered at WCS, which includes restrooms,

                             locker rooms, and showers. The true effect of the policy is that all men can have access to the

                             women’s locker room (and vice versa) by simply claiming to have a “legitimately held belief.”

                             Any man can shower with women under the pretext of having a “legitimately held belief” that he

                             is transgender. Such an offensive and irresponsible policy creates a hostile sexual environment and


                                                                              23
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.339 Page 30 of 32




                             puts all women at risk. This would be equally true if it were a woman having a “legitimately held

                             belief” that she was a man.

                                    This lawsuit was filed because Defendants created a hostile sexual environment for

                             students. The fact that Defendants’ policy discriminates against both men and women who value

                             their privacy and that of their children makes it more discriminatory, not less. If it is sexual

                             harassment for a man to verbally demand to take showers with a woman, then certainly a policy

                             which actually enables that man to physically take showers with a woman must be sexual

                             harassment as well. Defendants’ policy creates a hostile sexual environment which substantially

                             interferes with Plaintiffs’ use and enjoyment of Defendants’ public accommodation and it
Great Lakes Justice Center




                             interferes with Plaintiffs’ education. The policy must be struck down.

                             III.   DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY.

                                    In Saucier v. Katz, 533 U.S. 194 (2001), the U.S. Supreme Court articulated a two-step

                             sequence for resolving government officials' qualified immunity claims. “Saucier required that

                             lower courts consider first, whether the challenged conduct, viewed in the light most favorable to

                             the plaintiff, would actually amount to a violation of [constitutional or] federal law, and second, if

                             a violation has been alleged, whether the right was clearly established at the time of the alleged

                             government misconduct.” Wernecke v. Garcia, 591 F.3d 386, 392 (5th Cir. 2009). In Pearson v.

                             Callahan, 555 U.S. 223, 227 (2009), the Court held that “the Saucier procedure should not be

                             regarded as an inflexible requirement.”

                                    In O’Donnell v. Brown, 335 F.Supp.2d 787 (W.D. Mich. 2004), the court discussed the

                             standard regarding clearly established rights and stated:

                                    "The determination as to whether the right was 'clearly established' is a
                                    determination that 'must be undertaken in light of the specific context of the case,
                                    not as a broad general proposition.'" In other words, "[t]he contours of the right
                                    must be sufficiently clear that a reasonable official would understand that what he
                                    was doing violates that right." "The relevant, dispositive inquiry in determining

                                                                              24
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.340 Page 31 of 32




                                    whether a right is clearly established is whether it would be clear to a reasonable
                                    officer that his conduct was unlawful in the situation he confronted." As the Sixth
                                    Circuit has explained, "[t]he standard of objective reasonableness requires us to ask
                                    whether every 'officer in the defendant's position, measured objectively, would
                                    have clearly understood that he was under an affirmative duty to have refrained
                                    from such conduct.'"

                             Id. at 822-823 (Internal citations omitted).

                                    Plaintiffs have alleged clear violations of constitutional rights in their complaint and as

                             outlined above. These rights were all clearly established and any reasonable educator would not

                             only know of those rights, but also know not to violate them. Defendants knew, or should have

                             known, that their actions in this case violated Plaintiffs’ rights. Because proper violations of the

                             constitution have been alleged and those rights are clearly established, Defendants are not entitled
Great Lakes Justice Center




                             to qualified immunity.

                                    Finally, qualified immunity does not protect a defendant against claims for declaratory and

                             injunctive relief. Cnty. of Sacramento v. Lewis, 523 U.S. 833, 841, n.5 (1998) (noting that qualified

                             immunity is unavailable “in a suit to enjoin future conduct . . .”); see also Hydrick v. Hunter, 669

                             F.3d 937, 942 (9th Cir. 2012) (“[C]laims for injunctive and declaratory relief are unaffected by

                             qualified immunity.”); Hall v. Tollett, 128 F.3d 418, 430 (6th Cir. 1997). The primary relief sought

                             by Plaintiffs is to have the contested policies struck down and such relief is wholly unaffected by

                             qualified immunity.

                                                                       CONCLUSION

                                    For all the above reasons, Plaintiffs state valid claims and hereby request this Honorable

                             Court deny Defendants’ Motion to Dismiss and grant such other and further relief as is just and

                             appropriate.

                                                                                   Respectfully submitted,

                             DATED: April 25, 2018.                                /s/ David A. Kallman
                                                                                   David A. Kallman                (P34200)

                                                                              25
                             Case 1:18-cv-00069-PLM-PJG ECF No. 20 filed 04/25/18 PageID.341 Page 32 of 32




                                                                  PROOF OF SERVICE

                                    David A. Kallman hereby states that he did serve a copy of Plaintiffs’ Response to

                             Defendants’ Motion to Dismiss on April 25, 2018 pursuant to Fed. R. Civ. P. 5(d) via the United

                             States District Court for the Western District of Michigan electronic filing system.

                                                                                  /s/ David A. Kallman
                                                                                  David A. Kallman                  (P34200)
                                                                                  Attorney for Plaintiffs
Great Lakes Justice Center




                                                                             26
